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                                                             The Honorable Richard A. Jones
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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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8        UNITED STATES OF AMERICA,                    No. CR21-0135 RAJ
9                             Plaintiff,
                                                      ORDER GRANTING
10                       v.
                                                      MOTION TO SEAL
11       JUNWOO CHON,

12                            Defendant.

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            THIS MATTER comes before the Court upon Defendant Junwoo Chon’s motion
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15   to seal his sentencing memorandum. Having considered the entirety of the records and

16   file herein, the Court hereby grants this motion (Dkt. # 82). It is ORDERED that the
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     sentencing memorandum be allowed to remain under seal due to the nature of its
18
     contents.
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            DATED this 2nd day of December, 2021.
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22
                                                     A
                                                     The Honorable Richard A. Jones
23                                                   United States District Judge
24

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      ORDER GRANTING MOTION TO SEAL                         BLACK & ASKEROV, PLLC
      (Junwoo Chon; No. CR21-0135 RAJ) - 1               705 Second Avenue, Suite 1111
                                                               Seattle, WA 98104
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